USCA4 Appeal: 23-6340       Doc: 30        Filed: 08/20/2024     Pg: 1 of 3




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-6340


        LUIS ANTONIO ROSADO, JR.,

                             Plaintiff - Appellant,

                      v.

        JOSHUA BARNES; QUAMANYNE                      M.   JOHNSON;      LARRY      GRIER;
        MICKEEYN ROBINSON,

                             Defendants - Appellees,

                      and

        SUPERINTENDENT FLEMMINGS; ERIC RIGGS; DA’SHONE JOYNER,

                             Defendants.



        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Raleigh. Terrence W. Boyle, District Judge. (5:19-ct-03358-BO)


        Submitted: July 31, 2024                                       Decided: August 20, 2024


        Before WILKINSON, RICHARDSON, and RUSHING, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Luis Antonio Rosado, Jr., Appellant Pro Se.
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        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               Luis Antonio Rosado, Jr., appeals the district court’s order entering judgment in

        favor of Appellees—Joshua Barnes, Quamanyne Johnson, Larry Grier, and Mickeeyn

        Robinson—following a jury trial on Rosado’s 42 U.S.C. § 1983 claims asserting that

        Appellees used excessive force against him.

               Rosado raises several claims on appeal. First, he contends that Appellees admitted

        records of disciplinary infractions Rosado incurred after the date of the alleged excessive

        force. The record does not support this contention. Next, he contends that Appellees

        committed perjury, but he provides no support for that claim, and we will not second-guess

        the jury’s credibility determinations. Third, he contends that Appellees failed to preserve

        security camera footage that would have supported his claims, but Appellees asserted—

        and Rosado does not refute—that there were no cameras in the staff bathroom where the

        incident occurred. Finally, he contends the district court erred in failing to rule until after

        trial on his motion to compel witnesses. However, Rosado did not present argument in

        favor of his motion, and he has not established what testimony those witnesses would have

        offered. Thus, the district court did not err.

               Accordingly, we affirm the district court’s judgment. We also deny all pending

        motions. We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                         AFFIRMED



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